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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

ANTHONY D. KOLTON, S. DAVID                    )
GOLDBERG, and JEFFREY S. SCULLEY,              )
individually and on behalf of                  )
a class of all others similarly situated,      )
                                               )
                     Plaintiffs,               )
                                               )             16 C 3792
              v.                               )
                                               )             Judge Charles P. Kocoras
MICHAEL W. FRERICHS,                           )
Treasurer of the State of Illinois,            )
                                               )
                     Defendant.                )

                                       ORDER

       Now before the Court is Plaintiff S. David Goldberg’s (“Goldberg”) motion

seeking an entry of final judgment on his individual claim pursuant to our March 28,

2018 opinion (“Opinion”) denying class certification. For the following reasons, the

Court grants Goldberg’s motion, enters final judgment on his claim, and certifies his

claim for immediate appeal.

                                      STATEMENT

       Plaintiffs Goldberg, Anthony D. Kolton (“Kolton”) and Jeffrey S. Sculley

(“Sculley”) (collectively, “Plaintiffs”) proposed a class action against the Treasurer of

the State of Illinois, Defendant Michael W. Frerichs (“Frerichs” or “Treasurer”),

challenging the constitutionality of a provision of the Illinois Uniform Disposition of

Unclaimed Property Act, 765 ILCS § 1025/1, et seq. (“UPA” or the “Act”). They
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claim that the UPA violates the Takings Clause of the United States Constitution

because it denies unclaimed property owners any interest or return earned on their

property while it is used for State purposes. The Court denied class certification,

ruling that the putative class did not satisfy the commonality and typicality elements

of Federal Rule of Civil Procedure 23(a). In its Opinion, the Court concluded that

property owners are entitled to the interest earned on their property while in State

custody only if they were already earning interest on it before the State took custody.

                Unlike Kolton and Sculley, Goldberg is an owner of unclaimed property that

was not earning interest before the State took possession.1 He contends that the

Court’s conclusion that Seventh Circuit and Illinois case law limits Plaintiffs’ claims

to those involving interest-bearing accounts “terminates [his] claim…and is a final

adjudication of his separate claim.” He asks the Court to enter final judgment on his

claim and certify his claim for immediate appeal.                               Frerichs does not oppose

Goldberg’s motion.

              When an action involves more than one claim or multiple parties, the Court

“may direct entry of a final judgment as to one or more, but fewer than all, claims or

parties only if the Court expressly determines that there is no just reason for delay.”

Fed. R. Civ. P. 54(b). The Court must first ensure that there has been a “final

judgment,” that is, “an ultimate disposition of an individual claim.” Curtiss-Wright

Corp. v. Gen. Elec. Co., 446 U.S. 1, 7 (1980). Next, the Court exercises discretion in
                                                            
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 Plaintiffs and Frerichs jointly stipulated that Goldberg’s claim against the Treasurer is for an uncashed check from
Logitech, Inc., which was not interest-bearing when it was delivered to the Treasurer.

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determining whether an immediate appeal would offset the possible injustice of

delaying final judgment on a distinct claim until the adjudication of the entire case.

Rockwell Graphic Sys., Inc. v. Dev Indus., Inc., 1993 WL 45947, at *1 (N.D. Ill.

1993) (quoting Schaefer v. First Nat’l Bank of Lincolnwood, 465 F.2d 234, 235 (7th

Cir. 1972) (“[A]n application for a 54(b) order requires the trial judge to exercise

considered discretion, weighing the overall policy against piecemeal appeals against

whatever exigencies the case at hand may present.”)).

              Goldberg argues that, although the Court’s Opinion settled a motion for class

certification, the Opinion is a ruling on the merits of his claim. We denied class

certification because the breadth of the putative class, which included both

interest-bearing and non-interest bearing property, raised issues with commonality and

typicality. Our decision hinged on our conclusion that Seventh Circuit and Illinois

case law limits Plaintiffs’ claims to those involving interest-bearing accounts. Though

not intended to be a ruling on the merits of Goldberg’s claim, our determination

effectively shuts Goldberg out as an owner of non-interest-bearing property.2 We

have essentially disposed of Goldberg’s claim and ruled against him, albeit indirectly.

Our Opinion was thus a final judgment on Goldberg’s separate and distinct claim.

              There is no just reason to delay the appeal of Golberg’s claim. As Goldberg

notes, precedent on this issue lacks complete clarity and “presents an important issue

                                                            
2
  Goldberg states that our conclusion is “a final determination of Goldberg’s claim on the merits and is tantamount
to a dismissal of his claim with prejudice.” To be clear, the Court did not rule on Goldberg’s claim in its Opinion,
and there is no reason to believe that Goldberg’s claim was dismissed with prejudice, which would not be warranted
under these circumstances.

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that should be immediately decided by the Seventh Circuit.” In our Opinion, we

wrestled with the issue of whether the case law limits Plaintiffs’ claims to those with

interest-bearing accounts. We noted that the Seventh Circuit’s opinion in Cerajeski v.

Zoeller, 735 F.3d 577 (7th Cir. 2013), focused on the interest-bearing aspect of the

plaintiff’s bank account in determining that the statute constituted a taking.      In

Cerajeski, the Seventh Circuit analyzed relevant Illinois case law that distinguished

between interest-bearing and non-interest-bearing accounts. Id. at 581 (discussing

Cwik v. Giannoulias, 237 Ill. 2d 409 (2010) and Canel v. Topinka, 212 Ill. 2d 311

(2004)). In Kolton v. Frerichs, 869 F.3d 532 (7th Cir. 2017), however, the Seventh

Circuit did not consider the form of the property before it entered the unclaimed

property program. Instead, it appears that the court recognized that the Takings

Clause protects the time value of money and summarized Cerajeski’s holding

generally, without contemplating the type of property at issue. Our Opinion also

noted that the issue before the Seventh Circuit in Kolton was subject-matter

jurisdiction, not whether property owners are entitled to interest earned on their

property.

      Immediate resolution of this issue would not only provide guidance for this

case, but would also facilitate judicial efficiency. Parceling out Goldberg’s claim for

a final resolution on appeal would illuminate to the parties and the Court the legal

scope of a judgment in this case, i.e., whether such a judgment would reach

interest-bearing accounts only or all types of property. This would allow the Court to

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make a single judgment and determine the proper measure of just compensation

accordingly. Goldberg’s claim is sufficiently distinct such that there is no risk of

“piecemeal appeals” arriving in the Seventh Circuit. Finally, allowing Goldberg to

appeal now avoids a waste in judicial resources, as he makes clear that he would

inevitably appeal our foreseeable adverse judgment on his claim.

                                   CONCLUSION

      For the aforementioned reasons, the Court grants Goldberg’s motion. The

Court enters final judgment on Goldberg’s claim and certifies it for appeal. All other

proceedings in this litigation are stayed pending resolution of Goldberg’s appeal. It is

so ordered.



                                           ___________________________________
                                              Charles P. Kocoras
                                              United States District Judge


Dated: 6/20/2018




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